                                              Case 22-59731-pmb                         Doc 51   Filed 07/31/23 Entered 07/31/23 16:13:35                                       Desc
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                                                                                                                                                                                                             Page: 1
                                                                  Individual Estate Property Record and Report
                                                                                   Asset Cases
Case No.:     22-59731-PMB                                                                                                                    Trustee Name:        (300320) S. Gregory Hays
Case Name:      DACRUZ, GLENN JEFFREY                                                                                                         Date Filed (f) or Converted (c): 02/09/2023 (c)
                                                                                                                                              § 341(a) Meeting Date:       03/21/2023
For Period Ending:     06/30/2023                                                                                                             Claims Bar Date: 09/12/2023

                                                   1                                                  2                              3                            4                      5                          6

                                           Asset Description                                       Petition/                 Estimated Net Value           Property Formally         Sale/Funds                Asset Fully
                                (Scheduled And Unscheduled (u) Property)                         Unscheduled            (Value Determined By Trustee,         Abandoned            Received by the          Administered (FA)/
                                                                                                    Values                 Less Liens, Exemptions,        OA=§554(a) abandon.          Estate                Gross Value of
  Ref. #                                                                                                                       and Other Costs)                                                             Remaining Assets

    1       One-Half Interest - 3679 Seton Hall Way, Decatur, GA 30034 (Dekalb County)                    123,250.00                         42,990.00                                               0.00               123,250.00
            Exemption adjusted to $10,760, the maximum allowed amount. Consent order
            entered approving adjusted amount.

    2       Household Goods                                                                                 1,500.00                               0.00                                              0.00                        FA

    3       Clothing                                                                                           300.00                              0.00                                              0.00                        FA

    4       Checking - Delta Community Credit Union                                                            440.00                              0.00                                              0.00                        FA

    5       Claim for Full Disgorgement pursuant to 11 USC §§ 330, 331, and                                Unknown                                 0.00                                              0.00                        FA
            Fed.R.Bankr.P. 9019(a) and 2002(a)(3)

    5       Assets              Totals       (Excluding unknown values)                               $125,490.00                           $42,990.00                                           $0.00              $123,250.00



        Major Activities Affecting Case Closing:
                                      4/20/23 - Trustee filed an objection to Debtor's claimed exemptions.

                                      6/13/2023 - Declared as an asset case. Trustee intends to administer excess proceeds from foreclosure of real property.



        Initial Projected Date Of Final Report (TFR):                      12/31/2025                                    Current Projected Date Of Final Report (TFR):                       12/31/2025
